   JS 44 (Rev. 0.t/2 I )                           CIVIL
                           Case: 1:22-cv-00451-DRC Doc     COVER
                                                       #: 1-1         SHEETPage: 1 of 1 PAGEID #: 33
                                                              Filed: 08/03/22
   The JS 44 civil cover sheet and the infommtion contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
   provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1 974, is required for the usc of the Clerk of Court for the
   purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NE,\T PAGE OF THJS FORM)
   I. (a) PLAINTIFFS                                                                                               DEFENDANTS
              M i riam Fru h ling; Roger Mason; Jade Burke on behalf of                                            Kia America, Inc. ; Hyun dai Motor America; and Hyundai Kia
             their self and all others similarly situated                                                          America Technical Center, Inc.
      (b) County of Residence of First Listed Plaintiff "
                                                        H~a~m
                                                            �il-
                                                               to
                                                                ~n�-----�                                          County of Residence of First Listed Defendant Orange Cou nty, CA
                            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (/N US. PL1INT!FF CASES ONL Y)
                                                                                                                   NOTE: lN LAND CONDEMNATION CASES, USE TI-IE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.
      {C) Attorneys (Fim1 Name, Address, and Telephone Number)                                                     Attorneys (IfKlwwn)

             Futsch er Law, PLLC, 9 1 3 N. Oak Drive,
             Villa H ills, KY 4 1 0 1 7           (859) 9 1 2-2394

  II. BASIS OF JURISDICTION (Pluce an "X" in One Box OnlJ)                                           UJ. CITIZENSHIP OF PRINCIPAL PARTIES
                                                                                                                                     ·    (Plac,an "X" /n On, Hoxfo, P/a/atljf
                                                                                                              {For DirerJity Coses Only) ·                                   and One Box/or Defendant)
 0l       U.S. Go,·emment                OJ      Federal Question                                                                      PTF         DEF                                         PTF     DEF
             Plaintiff                             (US Goremmellt Not a Party)
                                                                       _
                                                                                                        Citizen ofThis State          [Rj I      O    I     Incorporated or Principal Place       O4 04
                                                                                                                                                              of Business In This State

 D2      U.S. Government
           Defendant
                                         IE] 4   Diversity           ,
                                                   (lmlicate Cilizemhip ofParties in ltr:m 111) ··
                                                                                                       , Citizen of Ano!h �r Slate      02       [BJ    2   Incorpor�ted and Principal Place
                                                                                                                                                              of Business In Another State
                                                                                                                                                                                                  0    5   o,
                                                                                                        Citizen or Subject of a
                                                                                                          Foreign C0up.try
                                                                                                                                        D3 D            3   Foreign Nation

  N.     NATURE OF SUIT (Place an "X" in OneBox OnM                                                                                        Click here for: Nature of Suit Codc .Descri tions.
            CONTRACT                                            TORTS                                   FORFEITURE/PENALTY                         BANKRUPTCY                            OTHER STATlrTES
    l l0 Insurance                     PERSONAL INJURY                    PERSONAL INJURY                625 Drug Related SeiZllfe           422 Appeal 28 USC 158                     375 False Claims Act
    120 Marine                         3 1 0 Airplane                    O
                                                                         365 Personal Injury -                of Property 2 1 USC 881        423 Withdrawal                            376 Qui Tam (31 USC
   130 Miller Act                      3 1 5 Airplane Product                   Product Liability       690 Other                                    28 USC 157                            3729(a))
                                                                         □
 �
    140 Negoliable Instrument                Liability                   367 Health Carel                                               1---U     "N"                TU
                                                                                                                                                     'T"E"L',L',E,;C;;,,,  ,,----,-j, 400 State Reapportionment
                                                                                                                                                                         ,-AL
 0 150 Recove1y ofOverpapnent          320 Assault, Libel &                    Pharmaceutical                                                PROPERTY RIGHTS                           410 Antitrust
         & Enforcement of Judgment           Slander                          Personal Injury                                                       c"
                                                                                                                                       !=c-','.',o""'  0p"   '-h'-t,===--H 430 Banks and Banking
                                                                                                                                                           rig
                                                                                                                                                          y":
 B
   I 5 l Medicare Act                  330 Federal Employers'                  Product Liability                                             830 P.itent                               450 Commen;e
   I 52 Recove1y of Defaulted                Liability                   O
                                                                         368 Asbestos Personal                                               835 Patent - Abbreviated                 460 Deportation
         Student Loans                 340 ;\larine                            Injury Product                                                       New Drug Application              470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                      Liability                                                     840 Trademark                                Com1pt Organizations
0
D
   1 53 RecO\·el"}' of Overpayment
        of Veteran 's Benefits
   160 Stockholders' Suits
                                             Liabilily
                                       350 Motor Vehicle
                                       355 Motor Vehicle
                                                                         8
                                                                      PERSONAL PROPERTY t----,
                                                                         370 Other Fraud
                                                                         371 Trnth in Lending
                                                                                                                  L'A"  O;;;
                                                                                                                      B;, R;-----1-.j 88 0 Defend Trade Secrets
                                                                                                        7 10 Fair Labor Standards
                                                                                                             Act
                                                                                                                                                    Act of2016
                                                                                                                                                                                      480 Consufiler Credit
                                                                                                                                                                                           ( 1 5 USC 1681 or 1692)
                                                                                                                                                                                      485 Telephone Consumer

8
0  190 Other Contract                       Product Liability            O
                                                                        380 Other Personal              720 Labor/Management           1--,�S�O"C�L\=L�S=E"c=u=R"t T�        V�-t�         Protection Act
                                                                                                                                                                           =

   195 Contract Product Liability      360 Other Personal                     Property Damage                Relations                      861 HIA (1395ft)                          490 Cable/Sat TV
   196 Franchise                            Injury                       O
                                                                         385 Property Damage            740 Railway Labor Act               862 Black Lung (923)                      850 Securities/Commodities/
                                      362 Personal lnjUIY -                   Product Liability         751 Family and Medical              863 DIWC/DIWW (405(g))                         Exchange
                                            Medical Malpractice                                              Leave Act                      86-t SSID Title XVI                       890 Other Statutory AetionS
         R EA L PROP E RT"\' -           C l l' lL R IG HTS         -'P R lSO=  N E R PET IT lO N'S     790 Other Labor Litigation          865 RSI (405(g))                          891 Agricultural Acts
 h=-;;.=7'c'-'7"'-'"'c' ,_ -l'-,-�,.c,;.ccc.c;;,cc;c C.,.. -+ -',;c, cc;;-'-'-'-'-'-'--'-"'-Fi
    2 10 Land Condemnation            440 Other Civil Rights            Habeas Corpus:                  791 Employee Retirement

§
                                                             -                                                                                                                        893 Environmental 1'.1atters
                                                             c-



0    220 Foreclosure                  44 l Voting                       463 Alien Detainee                   Income Security Act       1--F"E "DE"RiIL·"T"
                                                                                                                                                  "' ""'"'"
                                                                                                                                                                 Ax"s"u ns-,--t-i 895 Freedom of Infonnation
                                                                                                                                                                    "'     "'=

    230 Rent Lease & Ejectment        442 Employment                    5 1 0 Motions to Vacate                                             870 Taxes (U.S. Plaintiff                      Act
    240 Torts to Land                 443 Housing/                            Sentence                                                              or Defendant)                    896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                      � 871 IRS-Third Party                       899 Administrative Procedure
                                                                                                     t- �=====� -i-
D   290 All Other Real Property       445 Arner. w/Disabilities -       535 Death Penalty              - IMMIGRATIO N -                             26 USC 7609                           Act/Review or Appeal of
                                           Employment                   Other:                         462 Naturalization Application                                                     Agency Decision
                                      446 Arner. w/Disabilities -       540 Mandamus & Other           465 Other ln1migration                                                        950 Constitutionality of
                                           Other                        550 Civil Rights                    Actions                                                                       State Statu tes
                                      448 Education                     555 Prison Condition
                                                                        560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
 V. ORIGIN (Ploce m1 "X" i11 011e Box Only)"
IE] l Original             02   Removed from
                                                         0 3 Remanded from                      D  4 Reinstated or       D   5 Transferr�d from             D   6 Multidistrict        D         8 Multidistrict
        Proceeding             State Court                        Appellate Court                 · Reopened                   Another District                       Litigation -                 Utigation
                                                                                                                             · (spec/M                                Transfe                      Djiiict File
                                        Cite the l).S. Civil Statute under which you are filing (Do 11/Jt cftej11risdfc_tfo11a/ statutes 1111/ess dil'ersl(j'):
                                                  . §§
 VI. CAUS E O F A C TION' ,_Brief        _
                                        1s
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                                                   c_      _1_
                                                          30   I_
                                                              e_ se�
                                                                   q
                                                                     .___             �--,c-----------�----------------
                                                 description of cause:
                                         . Defective Vehicles
VII. REQUESTED IN     [RJ CHECK IF THJS IS A CLASS Ac'r!ON                                                DEMAND S .                                   CHECK YE$ only if denlanded in complaint:
      COMPLAINT:           UNDER RULE 23, F.R.Cv .P,                                                                                                   JURY'DEMAND:                tB] veS ·_   [JNo
VI II. RELATED CASE(S)
                         (See i11stn1ctio11s):
       IF ANY                                  JUDGE                                                                                           DOCKET Nill,IBER
DATE
08/04/2022
FOR OFFICE USE ONLY
   RECEIPT #                      AMOUNT                                      APPL YING IFP                                   JUDGE                              MAG. JUDGE
